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                       IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                 LUBBOCK DIVISION

UNIVERSAL UNDERWRITERS SERVICE            )
CORPORATION,                              )
                                          )
                  Plaintiff,              )
                                          )
v.                                        )                 Case No.:
                                          )
BART REAGOR AND ANNETTE REAGOR,           )
                                          )
                  Defendants.             )
_________________________________________ )



                                            COMPLAINT

       Universal Underwriters Service Corporation (“Universal”), by and through its attorneys

Foran Glennon Palandech Ponzi & Rudloff, PC and McCleskey Harriger Brazil & Graf LLP,

submits this Complaint against Bart Reagor and Annette Reagor (collectively, the “Defendants”),

and in support thereof states as follows:

                                PRELIMINARY STATEMENT

       Universal brings this suit to enforce its rights under an Unconditional Personal Guaranty

(the “Guaranty”) executed by the Defendants. Defendant Bart Reagor is an owner and operator of

the Reagor-Dykes Auto Group, a business group which specializes in the sale and lease of

automobiles. Under the Guaranty, the Defendants individually guaranteed all debts and amounts

owed by the RD Debtors, as defined below, to Universal. The Defendants have failed and refused

to fulfil their obligations under the Guaranty and have therefore committed breach of contract.




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                                             PARTIES

       1.       Plaintiff Universal, an Illinois corporation, with its principal place of business at

7045 College Boulevard, Overland Park, Kansas 66211.

       2.       Accordingly, for jurisdictional purposes, Universal is a citizen of the State of

Illinois and the State of Kansas.

       3.       Defendant Bart Reagor is a citizen of the United States and a resident of Lubbock,

Texas. He may be served with process at 2809 19th Street, Lubbock, Texas 79410 or wherever he

may be found.

       4.       Defendant Annette Reagor is a citizen of the United States and a resident of

Lubbock, Texas. She may be served with process at 2809 19th Street, Lubbock, Texas 79410 or

wherever she may be found.

       5.       Accordingly, for jurisdictional purposes, Defendants are citizens of the State of

Texas.

                                    JURISDICTION AND VENUE

       6.       This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1332(a) because the amount in controversy exceeds the sum of $75,000, exclusive of interest

and costs, and is between citizens of different states.

       7.       This Court has general and specific jurisdiction over the Defendants because they

are citizens of the State of Texas, have continuous and systematic contacts with Texas, and the

events or omissions that give rise to the claim asserted herein occurred in Texas.

       8.       Venue is proper pursuant to 28 U.S.C. § 1391 as Defendants reside within this

District and a substantial part of the events or omissions that give rise to the claim asserted herein

occurred in this District.

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                                        BACKGROUND

A. Reagor-Dykes Auto Group

      9.       Defendant Bart Reagor is an owner and operator of several car dealerships

colloquially known as the Reagor-Dykes Auto Group.

      10.      Reagor-Dykes Auto Group’s primary business is the sale and lease of new and used

automobiles.

      11.      Upon information and belief, the Reagor-Dykes Auto Group consists of the

following entities:

            a. Reagor-Dykes Auto Company LP

            b. Reagor-Dykes Floydada LP

            c. Reagor-Dykes Imports LP

            d. Reagor Dykes Motors LP

            e. Reagor-Dykes Plainview LP

            f. Reagor-Dykes Amarillo LP

            g. Reagor-Dykes Snyder LP

            h. Reagor Auto Mall, LTD

            i. Reaor Auto Mall I, LLC

            j. Reagor-Dykes II, LLC

            k. Reagor-Dykes III, LLC

            l. Prime Capital Auto Lease, LLC

            m. R&D Investments Reinsurance Company Ltd

            n. R&D II

            o. R&D III

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            p. R&D IV

            q. R&D V

            r. RD Executive Travel

            s. RD 7 Investments, LLC

            t. RDM7, LLC

            u. Reagor Dykes Innovative Solutions, LLC

            v. Tex-Fi Capital, LLC

      12.      Throughout 2016 and 2017, the Reagor-Dykes Auto Company LP, Reagor-Dykes

Floydada LP, Reagor-Dykes Imports LP, Reagor Dykes Motors LP, Reagor-Dykes Plainview LP,

Reagor-Dykes Amarillo LP, Reagor Auto Mall Ltd, Reagor-Dykes Snyder LP, RD II LLC, RD III

LLC, and Reagor Auto Mall I LLC, the Defendants, and Universal entered into three agreements;

the F&I Master Dealer Agreement, the F&I Loan Agreement and Promissory Note, and the

Unconditional Personal Guaranty.

      13.      On July 31, 2018, Ford Motor Credit Company, LLC filed its Original Complaint

And Application For Writ Of Sequestration against certain Reagor-Dykes Auto Group entities in

the Northern District of Texas. See Ford Motor Credit Company, LLC v. Reagor-Dykes Amarillo

LP et al, (5:18-cv-00186-C) (the “Ford Litigation”).

      14.      On August 1, 2018, and as a result of the Ford Litigation, Reagor-Dykes Auto

Company LP, Reagor-Dykes Floydada LP, Reagor-Dykes Imports LP, Reagor Dykes Motors LP,

Reagor-Dykes Plainview LP, and Reagor-Dykes Amarillo LP filed for bankruptcy protection

under Chapter 11 of the Bankruptcy Code, 11 U.S.C. § 101, et seq., in the Bankruptcy Court of

the Northern District for Texas. See In re Reagor-Dykes Motors, LP et al., No. 18-50214-rlj-11

(Bankr. N.D. Tex.).



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         15.   On November 2, 2018, Reagor Auto Mall Ltd, Reagor-Dykes Snyder LP, RD II

LLC, RD III LLC, and Reagor Auto Mall I LLC filed for bankruptcy protection under Chapter 11

of the Bankruptcy Code in the Bankruptcy Court for the Northern District of Texas.

         16.   The Defendants have guaranteed all amounts owed to Universal by Reagor-Dykes

Auto Company LP, Reagor-Dykes Floydada LP, Reagor-Dykes Imports LP, Reagor Dykes Motors

LP, Reagor-Dykes Plainview LP, Reagor-Dykes Amarillo LP, Reagor Auto Mall Ltd, Reagor-

Dykes Snyder LP, RD II LLC, RD III LLC, and Reagor Auto Mall I LLC (individually an “RD

Debtor,” and collectively “RD Debtors”).

B. The F&I Master Dealer Agreement

         17.   On or about June 15, 2016, Reagor Auto Mall Ltd, entered into the F&I Master

Dealer Agreement (the “Dealer Agreement”) with Universal, a true and accurate copy of which is

attached hereto as Exhibit 1.

         18.   Reagor Auto Mall Ltd entered into the Dealer Agreement on behalf of itself as well

as the “enrolled affiliated and/or subsidiary dealerships set out on Exhibit A, as updated from time

to time[.]” Dealer Agreement p. 1.

         19.   Under the Dealer Agreement, Reagor Auto Mall Ltd “represents and warrants that

he/she is authorized, with requisite authority, to sign this Agreement on behalf of each dealership

listed on attached Exhibit A, if applicable, and any dealerships hereafter acquired, with the

intention to bind each Dealer entity listed on Exhibit A to this Agreement (including for purposes

hereof all ‘in force’ schedules and related documents), jointly and severally.” Dealer Agreement

§ 22.

         20.   Schedule A of the Dealer Agreement includes Reagor-Dykes Auto Company LP,

Reagor-Dykes Floydada LP, Reagor-Dykes Imports LP, Reagor Dykes Motors LP, Reagor-Dykes

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Plainview LP, Reagor-Dykes Amarillo LP, and Reagor Auto Mall Ltd as parties to the Dealer

Agreement (individually, a “RD Dealer,” and collectively, the “RD Dealers”). See Exhibit A

attached to Dealer Agreement.

      21.      Upon information and belief, Reagor-Dykes Snyder LP is also a “RD Dealer” and

party to the Dealer Agreement as a “dealership hereafter acquired.”

      22.      Under the Dealer Agreement, Universal “provides or administers a number of

products sold in conjunction with automobile and other motor vehicle sales to consumers and

businesses, including but not limited to vehicle service contracts, debt cancellation contracts, theft

deterrent contracts, road hazard protection contracts, maintenance plan contracts and limited

warranty contracts” (collectively, the “Products”). Dealer Agreement, p. 1.

      23.      The RD Dealers were authorized to solicit and sell Universal’s Products to their

customers.

      24.      For each Product sold, the RD Dealers collected the premium owed to Universal

(the “Remit”), as well as a markup that the RD Dealers retained as their profits (the “Markup”).

      i. The Remit

      25.      The RD Dealers are obligated “[t]o hold all funds received on behalf of [Universal]

in a fiduciary capacity. Under no circumstances will [RD] Dealer make any personal or other use

of funds.” Dealer Agreement § 5(D).

      26.      The RD Dealers maintained an electronic business submission system with which

Universal was able to monitor a) all Products sold, b) Product-contracts that were cancelled, and

c) the amount of Remit held by the RD Dealers for the benefit of Universal.

      27.      The RD Dealers have not made complete Remit payments owed to Universal for

the months of May, June, July, August, September, and October in 2018.

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      28.     Upon information and belief, since the August 1, 2018 bankruptcy filing, the RD

Dealers have not solicited or sold any new Product.

      29.     In the event that RD Dealers continued to solicit and sell Products, the Remit is

owed to Universal for those Products as well.

      30.     As of August 2018, the outstanding amount of Remit owed is Four Hundred

Nineteen Thousand Eight Hundred Sixty-Nine dollars and Thirty-Four cents ($419,869.34).

      ii. The Markup

      31.     In the event of cancellation by a customer, the RD Dealers are required to refund

the Remit and Markup to the customer, less any applicable cancellation or service fees.

      32.     Even upon termination of the Dealer Agreement, the RD Dealers have the

“continuing liability to immediately make refunds to the [customers] on cancelled Contracts, for

and during the term of all Contracts issued by the [RD] Dealer.” Dealer Agreement § 18(E).

      33.     Since August 1, 2018, on behalf of the RD Dealers, Universal has refunded

customers the RD Dealers’ Markup (the “Refunded Markup”).

      34.     As Products continue to be cancelled by customers, Universal continues to pay the

Refunded Markup to customers.

      35.     The RD Dealers are required to reimburse Universal for the Refunded Markup.

      36.     As of August 2018, the Refund Markup totals Forty Four Thousand One Hundred

Three dollars and Thirty cents ($44,103.30).




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      iii. The Default

      37.      As of August 2018, the amounts owed to Universal under the Dealer Agreement

are Four Hundred Sixty Three Thousand Nine Hundred Seventy Two dollars and Sixty-Four cents

($463,972.64) which includes the Remit and the Refunded Markup.

      38.      The RD Dealers have failed and refused to timely transfer the Remit to Universal

and are therefore in default of their obligations under the Dealer Agreement.

      39.      The RD Dealers have failed and refused to timely reimburse Universal for the

Refunded Markup and are therefore in default of their obligations.

C. The F&I Loan Agreement and Promissory Note

      40.      On or about June 20, 2016, Reagor Auto Mall I LLC, Reagor-Dykes II LLC, and

Reagor-Dykes III LLC on behalf of themselves and related entities, entered into an F&I Loan

Agreement (the “Initial Loan Agreement”) with Universal.

      41.      The terms of the Initial Loan Agreement provided for a Three Million Dollar

($3,000,000.00) loan from Universal to the aforementioned entities.

      42.      Repayment of the loan included One Hundred Ten Thousand Five Hundred Ninety-

Six Dollars ($110,596.00) in cost of fund fees in addition to the loan principal.

      43.      As such, the total debt owed to Universal under the Initial Loan Agreement was

Three Million One Hundred Ten Thousand Five Hundred Ninety-Six Dollars ($3,110,596.00).

      44.      The debt under the Initial Loan Agreement was evidenced by a Promissory Note

executed by Reagor Auto Mall I LLC, Reagor-Dykes II LLC, and Reagor-Dykes III LLC, on

behalf of themselves and related entities, on or about June 20, 2016, and made payable to

Universal.



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      45.     On or about June 1, 2017, Reagor Auto Mall I LLC, Reagor-Dykes II LLC, and

Reagor-Dykes III LLC, on behalf of themselves and related entities, entered into a subsequent F&I

Loan Agreement (the “Loan Agreement”) with Universal, attached hereto as Exhibit 2.

      46.     Defendant Bart Reagor executed the Loan Agreement on behalf of the RD Debtors.

      47.     The Loan Agreement provided that the RD Debtors would borrow Four Million Six

Hundred Sixty Four Thousand and Five Hundred Sixteen Dollars ($4,664,516.00) from Universal,

which included Three Million Dollars ($3,000,000.00) in new monies loaned and the outstanding

principal of One Million Six Hundred Sixty Four Thousand and Five Hundred Sixteen Dollars

($1,664,516.00) from the Initial Loan Agreement.

      48.     Repayment of the Loan Agreement included a cost of fund fees of Two Hundred

Fifty-Five Thousand and Nine Hundred Sixty-Five Dollars ($255,965.00).

      49.     The combined debt owed by the RD Debtors to Universal under the Loan

Agreement was Four Million Nine Hundred Twenty Thousand and Four Hundred Eighty-One

Dollars ($4,920,481.00) which is evidenced by a Promissory Note, dated June 1, 2017, executed

by the RD Debtors and made payable to the order of Universal (the “Note”), attached hereto as

Exhibit 3.

      50.     The Loan Agreement provided that it and the Note shall be repaid, in part, through

a charge on the Markup that the RD Debtors receive from the sale of Universal Products under the

Dealer Agreement. Loan Agreement § 3.

      51.     The RD Debtors must sell enough Products in a given quarter to satisfy a quarterly

minimum repayment amount of Four Hundred Ten Thousand Forty dollars ($410,040.00) (the

“Quarterly Minimum Repayment Amount”). Loan Agreement § 3.




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       52.      Failure to satisfy the Quarterly Minimum Repayment Amount through Product

sales obligated the RD Debtors to deliver a payment to Universal that made up the difference. Loan

Agreement § 3.

       53.      The RD Debtors must satisfy the Quarterly Minimum Repayment Amount by the

fifteenth day of July, October, January, and April, until the Loan Agreement was repaid. Loan

Agreement § 3.

       54.      The Loan Agreement provides, in relevant part, that it “shall automatically

terminate, without notice, . . . . in the event of a material breach of this Agreement by [the RD

Debtors] (or any of them) [.]” Loan Agreement § 9(b)(ii).

       55.      In the event of termination, the RD Debtors “agree, jointly and severally, to repay

[Universal] immediately the entire outstanding balance of the Loan Amount.” Loan

Agreement § 9(c).

       56.      Each RD Debtor is also “jointly and severally liable for such repayment and

collection costs thereof, including but not limited to reasonable attorneys’ fees and costs.” Loan

Agreement § 9(d).

       57.      The Note provides, in relevant part, that “If a (i) [RD Debtor] files a voluntary

petition in bankruptcy, . . .(iv) [RD Debtor] fails to pay any principal, interest, or any other amounts

due hereunder on this Note, and/or (v) [RD Debtor] breaches any material covenant or other

agreement contained in this Note, then [Universal] may at any time in [Universal’s] sole discretion

(a) declare any portion or all of the outstanding principal amount of the loan evidenced hereby to

be due and payable whereupon such portion of the loan evidenced hereby shall immediately mature

and become due and payable together with interest accrued thereon, without presentment, demand,

diligence, protest, notice of acceleration, or other notice of any kind, all of which [RD Debtor]


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hereby expressly waive and/or (b) without notice of default or demand, proceed to protect and

enforce tis rights and remedies by appropriate proceedings, whether for damages or the specific

performance of any provision of this Note or proceed to enforce the payment of the loan evidenced

hereby.” Note § 2.

      58.      The RD Debtors failed to make the Quarterly Minimum Repayment Amount as of

October 15, 2018 and are thereby in breach of the Loan Agreement, making all amounts owed

immediately due and payable.

      59.      The RD Debtors filing of Chapter 11 bankruptcy petitions constitutes a default

under the Note thereby making all amounts owed immediately due and payable.

      60.      As of August 2018, the amounts owed to Universal under the Loan Agreement and

Note are Two Million Four Hundred Eighty Three Thousand Three Hundred and Seventy-Eight

dollars ($2,483,378.00).

      61.      Pursuant to the Loan Agreement, Universal has a right, at its discretion, to “set off

any amounts due [to Universal] under this Agreement against any amounts due to [the RD

Dealers], either jointly or individually, by [Universal] or [Universal’s] affiliates, under any other

agreement or relationship between those parties.” Loan Agreement § 11.

      62.      On or about December 4, 2018, Universal exercised its right to setoff in the amount

of $252,566.

      63.      On or about February 5, 2019, Universal against exercised its right to setoff in the

amount of $223,134.

      64.      Following the setoffs, the total amount due and owing under the Loan Agreement

and Note are Two Million Seven Thousand Six Hundred and Seventy-Eight dollars

($2,007,678.00).



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D. The Unconditional Personal Guaranty

      65.        In conjunction with the Loan Agreement, Defendants executed the Guaranty,

attached hereto as Exhibit 4.

      66.        Pursuant to the Guaranty, the Defendants “jointly and severally guarantee

unconditionally and irrevocably the payment of any and all indebtedness or obligations of [the RD

Debtors] to [Universal], its successors and assigns, including, but not limited to, the balance of a

loan in the original amount of Four Million Nine Hundred Twenty Thousand and Four Hundred

and Eighty-One Dollars ($4,920,481.00) made by [Universal] pursuant to the F&I Loan

Agreement dated June 1, 2017 . . . now owing or hereafter to be incurred by or for [RD Debtors]

in connection with the contemplated transaction[.]” Guaranty ¶ 2.

      67.        The Defendants also agree “that this Guaranty is a present and continuing guaranty

of payment and not of collectability, and that [Universal] shall not be required to prosecute

collection, enforcement or other remedies against the [RD Debtors] or any other person before

seeking payment from the [Defendants] under this Guaranty.” Guaranty ¶ 2.

      68.        The Defendants additionally guaranteed “unconditionally the payment of any and

all costs and expenses in connection with the enforcement of this Guaranty and collection thereof,

including, but not limited to, reasonable attorney fees and legal expenses.” Guaranty ¶ 3.

      69.        The amounts owed to Universal under the Loan Agreement and Note are Two

Million Seven Thousand Six Hundred and Seventy-Eight dollars ($2,007,678.00).

      70.        As of August 2018, the amounts owed to Universal under the Dealer Agreement

are Four Hundred Sixty Three Thousand Nine Hundred Seventy Two dollars and Sixty-Four cents

($463,972.64).




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       71.     On September 25, 2018, Universal made a demand on the Defendants to honor their

obligations under the Guaranty and for payment of the amounts due and owing to Universal.

       72.     On March 7, 2019, Universal made a subsequent demand on the Defendants to

honor their obligations under the Guaranty and for payment of the amounts due and owing to

Universal.

       73.     The Guarantors failed and refused to remit the sums due and owing to Universal.

       74.     The outstanding amounts owed under the Dealer Agreement, Loan Agreement,

Note, Guaranty, and fees and costs incurred by Universal in connection with the Dealer

Agreement, Loan Agreement, Note, and Guaranty are payable by Defendants Bart Reagor and

Annette Reagor, and Universal seeks judgment for these amounts.

 COUNT I – BREACH OF CONTRACT: UNCONDITIONAL PERSONAL GUARANTY
                (BART REAGOR AND ANNETTE REAGOR)

       75.     Universal repeats, restates, and re-alleges the allegations of the above-stated

paragraphs as if fully set forth herein.

       76.     Universal is a party to the Dealer Agreement and Loan Agreement.

       77.     Universal is the owner and holder of the Note and Guaranty.

       78.     Universal complied with all obligations in connection with the Dealer Agreement,

Loan Agreement, Note, and Guaranty.

       79.     Under the Guaranty, Defendants are liable for all indebtedness or obligations of the

RD Debtors to Universal.

       80.     Under the Guaranty, Defendants are liable for all amounts due under the Dealer

Agreement.

       81.     Under the Guaranty, Defendants are liable for all amounts due under the Loan

Agreement and Note.

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      82.       Defendants, jointly and severally, owe $2,471,650.64, exclusive of attorneys’ fees,

costs, and expenses payable in accordance with the Dealer Agreement, Loan Agreement, Note,

and Guaranty.

      83.       Prior to filing the instant litigation, Universal demanded payment of the amounts

owed by Defendants.

      84.       Defendants have failed, refused, and continue to refuse to remit payment of the

amounts owed to Universal.

      85.       Defendants have breached the Guaranty.

      86.       Universal has been damaged by their breach of the Guaranty in the amount of

$2,471,650.64, plus all attorneys’ fees, costs, and expenses payable in accordance with the

Guaranty, and otherwise applicable law, that have accrued and continue to accrue.

      87.       Accordingly, Universal respectfully requests that this Honorable Court enter

judgment against Bart Reagor and Annette Reagor, jointly and severally, in the amount of

$2,471,650.64, plus all attorneys’ fees, costs, and expenses payable in accordance with the

Guaranty, and otherwise applicable law, that have accrued and continue to accrue.

                                    PRAYER FOR RELIEF

       WHEREFORE, Universal Underwriters Service Corporation prays for judgment as

follows:

       1.       For an order declaring that Bart Reagor and Annette Reagor are jointly and

severally liable due to their breach of contract regarding the Unconditional Personal Guaranty,

entitling Universal Underwriters Service Corporation to damages in the amount of $2,471,650.64;

       2.       All other attorneys’ fees, costs, and expenses payable in accordance with the

Unconditional Personal Guaranty; and

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      3.     Such other and further relief as the Court may deem just and proper.




Dated: March 21, 2019                     Respectfully Submitted,



                                          McCLESKEY, HARRIGER,
                                           BRAZILL & GRAF, L.L.P.
                                          5010 University Avenue, Suite 500
                                          Lubbock, Texas 79413
                                          Tel: (806) 776-7306
                                          Fax: (806) 796-7396
                                          Email: bdavidson@mhbg.com

                                          /s/ Benjamin H. Davidson, II
                                          Benjamin H. Davidson, II
                                          State Bar No. 05430590


                                          AND


                                          FORAN GLENNON PALANDECH PONZI &
                                          RUDLOFF P.C
                                          Susan N.K. Gummow (Pro Hac Pending)
                                          Igor Shleypak (Pro Hac Pending)
                                          222 N. LaSalle St., Ste. 1400
                                          Chicago, IL 60601
                                          Tel: (312) 863-5000
                                          Fax: (312) 863-5099
                                          Email: sgummow@fgppr.com
                                                 ishleypak@fgppr.com

                                          Counsels for Plaintiff
                                          Universal Underwriters Service Corporation




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